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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

                     Plaintiff,
                                                          Case No. 1:20-cv-03590-JEB
                v.

 META PLATFORMS, INC.,

                     Defendant.


  MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION FOR ISSUANCE OF
           DISCOVERY ORDERS AND LETTERS ROGATORY

       Defendant Meta Platforms, Inc. (“Meta”) respectfully submits this Memorandum in

Support of its Motion for the Issuance of Discovery Orders and Letters Rogatory for discovery

from Rakuten Group, Inc. (“Rakuten”) and Line Corp. (“Line”).

                                        INTRODUCTION

       Meta brings this Motion to obtain discovery from Rakuten and Line, two non-parties

headquartered outside of the United States, in Japan. Meta believes that both of these non-

parties possess or control information critical to its defenses in this action, namely on issues

related to market definition, market power, and the impact of Meta’s challenged conduct.

Although Meta has served Rakuten and Line’s domestic subsidiaries, Meta has reason to believe

that the domestic subsidiaries have limited responsive documents in their custody or control, and

Meta seeks information from Rakuten and Line only where that information is not in the

possession or custody of the domestic subsidiary.

       Meta expects that Rakuten and Line’s documents and testimony will show that they—

along with numerous other entities—compete with Meta, and that contrary to the allegations in
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the United States Federal Trade Commission’s (“FTC”) amended complaint there is no “industry

or public recognition of” a product market for “personal social networking services.” See Brown

Shoe Co. v. United States, 370 U.S. 294, 325 (1962). Meta also expects that documents and

testimony will show that there have been no anticompetitive effects from Meta’s acquisitions of

Instagram and WhatsApp.

       Accordingly, Meta respectfully requests that the Court grant this Motion to obtain limited

documents and testimony from the two entities, each of which is described in more detail in

Section I, infra. Specifically, Meta respectfully requests that this Court, for each entity, (1) issue

discovery orders for the collection of documentary and testimonial evidence that Meta will then

transmit via the Hague Convention on the Service Abroad of Judicial and Extrajudicial

Documents in Civil or Commercial Matters (“Hague Service Convention”) to the entities in

Japan (Exhibits [A] and [B]), and (2) provide to the U.S. Department of State letters rogatory for

the collection of testimonial evidence to be transmitted to the Japanese tribunal addressed therein

(Exhibits [C] and [D]) and request from the U.S. Department of State that it receive and return

the letters rogatory after execution.

       As for the collection of testimonial evidence, Meta seeks the issuance of both discovery

orders and letters rogatory because each is an alternative method for foreign discovery of

testimonial evidence in Japan: in the event Rakuten or Line comply with one of the methods,

Meta will withdraw the alternative as to that non-party. Meta also informs the Court that it

anticipates joining a forthcoming motion from the FTC for the issuance of letters rogatory for

documentary and testimonial evidence from Line.




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                                           ARGUMENT

I.     The Court Has Authority To Issue the Requested Discovery Orders and Letters
       Rogatory.

       Congress has authorized this Court to issue discovery orders and letters rogatory for the

production of documents and testimony from non-parties located in Japan for use in an action

pending in the United States. See 28 U.S.C. § 1781(a)(2), (b)(2) (granting the U.S. Department

of State the power “to receive a letter rogatory issued, or request made, by a tribunal in the

United States, to transmit it to the foreign or international tribunal, officer, or agency to whom it

is addressed,” and permitting “the transmittal of a letter rogatory or request directly from a

tribunal in the United States to the foreign or international tribunal, officer, or agency to whom it

is addressed and its return in the same manner”); 28 U.S.C. § 1651 (“[A]ll courts established by

Act of Congress may issue all writs necessary or appropriate in aid of their respective

jurisdictions and agreeable to the usages and principles of law.”); Japan Judicial Assistance

Information: 1 Taking Voluntary Depositions of Willing Witnesses (“Court orders may be

obtained from U.S. courts under the All Writs Act, 28 U.S.C. § 1651, by various administrative

agencies for the taking of depositions in Japan.”). This Court has the power under the All Writs




       1
          U.S. Dep’t of State—Bureau of Consular Affairs, Japan Judicial Assistance
Information (“Japan Judicial Assistance Information”), https://travel.state.gov/content/travel
/en/legal/Judicial-Assistance-Country-Information/Japan.html (last updated Jan. 3, 2019).


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Act to issue a discovery order that would then be transmitted via the Hague Service Convention,

to which Japan and the United States are signatories. 2

II.    Meta’s Requests Are Relevant and Likely To Lead to Material Evidence.

       In deciding whether to issue a letter rogatory or an order for production of information

located abroad, U.S. courts apply the discovery principles contained in Rule 26 of the Federal

Rules of Civil Procedure. See Lantheus Med. Imaging, Inc. v. Zurich Am. Ins. Co., 841 F. Supp.

2d 769, 776 (S.D.N.Y. 2012); Restatement (Third) of Foreign Relations Law § 442 (2022).

Federal Rule of Civil Procedure 26(b)(1) permits parties to “obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case,” including material that is not admissible. Because the bar for granting a

motion for issuance of a letter rogatory or foreign discovery order is so low, “[a] court must set

forth some good reason . . . to deny a party the judicial assistance requested by means of a letter

rogatory.” Dist. Title v. Warren, 2016 WL 10749155, at *4 (D.D.C. Dec. 23, 2016) (internal

quotation marks omitted).

       As set forth below, all of the information that Meta seeks from Rakuten and Line clears

this threshold because it is relevant to Meta’s defenses—specifically, the competition that it

faces; the low barriers to entry as evidenced by the ability of small upstarts to achieve runaway

success; the contours of the relevant product and geographic market; data regarding market size

and share; and the lack of anticompetitive effects from Meta’s acquisitions of WhatsApp and

Instagram.



       2
         See Hague Conf. on Priv. Int’l L., Status Table, Convention of 15 November 1965 on
the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters,
https://www.hcch.net/en/instruments/conventions/status-table/?cid=17 (last visited Aug. 12,
2022).

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        A.     Line Corp. (Line)

        Line Corp. is a multinational internet technology company headquartered in Tokyo,

Japan, which operates the mobile app Line. Launched in 2011, Line is among the most popular

apps with messaging features worldwide, boasting 165 million monthly active users as of the end

of 2020. 3

        Meta seeks discovery from Line to show that Line has competed with Meta and has been

a competitive constraint on Meta since at least 2012. Via the issuance of a discovery order, Meta

seeks documents and testimony related to how Line views competition between Line and Meta

(Document Request No. 1; Deposition Topic Nos. 1 & 2), whether Line’s services meet the

FTC’s definition of personal social networking services (Document Request No. 2), and Line’s

ease of entry into the market (Deposition Topic Nos. 3 & 4). Lastly, Meta has two limited data

requests related to the FTC’s allegations of market share and market definition regarding time

spent and the number of users on Line (Document Request Nos. 3 & 4). Meta believes that this

information is critical to countering the FTC’s allegations that Meta has monopoly power in any

cognizable market. Meta limited these requests to data regarding average time spent and active

user numbers, which the FTC alleges are commonly used user metrics. See Am. Compl. ¶ 193

(ECF No. 82). Document Request No. 3 seeks data limited to specific periods of time when there

were outages on Meta’s services and seeks information related to diversion of users from Meta’s

services. In Document Request No. 4, Meta has asked for data dating from 2011-2014 and 2021

to help respond to the FTC’s allegations that Meta has any type of durable monopoly power. Via

the issuance of a letter rogatory, Meta seeks testimony in response to the listed questions



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         Naver Corp., Naver Annual Report 2020, at 22, https://www.navercorp.com/navercorp
_/ir/annualReport/2022/2020AR_NAVER_ENG_220203.pdf.

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regarding how Line sees competition and the impact of Meta’s acquisitions of Instagram and

WhatsApp.

         Meta has served document requests on Naver BAND, Inc. for documents in the custody

and control of Line’s United States affiliate, but Meta is also seeking unique and vital documents

that it believes are only available in Japan, where Line is headquartered. Meta seeks documents

only where they are not in the possession or custody of the United States affiliate.

         B.       Rakuten (Viber)

         Rakuten is a multinational internet technology company headquartered in Tokyo, Japan

and owns Viber. Viber is an end-to-end encrypted messaging and voice-calling application

available on every major operating system. 4 Viber users can participate in individual or group

chats and the app’s Public Accounts allow businesses, brands, and news services to message

subscribing users directly. 5 Rakuten purchased Viber for $900 million weeks before Meta

acquired WhatsApp. 6 In 2016, Viber added end-to-end encryption after WhatsApp did so. 7 In

2020, according to one source, Viber had over 1.1 billion registered users worldwide. 8




         4
             Rakuten Viber, About Viber, https://www.viber.com/en/about/ (last visited Aug. 12,
2022).
         5
         Ingrid Lunden, Viber Follows Messenger, launches Public Accounts for businesses and
brands, TechCrunch (Nov. 9, 2016), https://techcrunch.com/2016/11/09/viber-follows-
messenger-with-the-launch-of-public-accounts-for-businesses-and-brands/.
         6
         Patrick Frater, Facebook’s What[s]App Deal Preceded by Rakuten’s Viber Buy, Variety
(Feb. 20, 2014), https://variety.com/2014/digital/asia/facebooks-whatapp-deal-preceded-by-
rakutens-viber-buy-1201113544/.
         7
         Ingrid Lunden, Viber adds end-to-end encryption and hidden chats as messaging app
privacy wave grows, TechCrunch (Apr. 19, 2016), https://techcrunch.com/2016/04/19/viber-
adds-end-to-end-encryption-hidden-chats-universal-delete-as-messaging-app-privacy-grows/.
         8
         S. Dixon, Number of unique Viber user IDs from June 2011 to March 2020, Statista
(Apr. 28, 2022), https://www.statista.com/statistics/316414/viber-messenger-registered-users/.

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       Meta seeks discovery from Rakuten to show how Viber has competed with Meta and the

impact of the WhatsApp acquisition. Via the issuance of a discovery order, Meta seeks

documents related to how Viber views competition between Viber and Meta (Document Request

No. 1; Deposition Topic Nos. 1 & 2), whether Viber’s services meet the FTC’s definition of

personal social networking services (Document Request No. 2), and Viber’s ease of entry into

the alleged market (Deposition Topic Nos. 3 & 4). Lastly, Meta has two limited data requests

related to the FTC’s allegations of market share and market definition regarding time spent and

the number of users on Viber (Document Request Nos. 3 & 4). Meta believes that this

information is critical to countering the FTC’s allegations that Meta has monopoly power in any

cognizable market. Meta limited these requests to data regarding average time spent and active

user numbers, which the FTC alleges are commonly used user metrics. See Am. Compl. ¶ 193.

Document Request No. 3 seeks data limited to specific periods of time when there were outages

on Meta’s services and seeks information related to diversion of users from Meta’s services. In

Document Request No. 4, Meta has asked for data from 2011-2014 and 2021 to help respond to

the FTC’s allegations that Meta has any type of durable monopoly power. Via the issuance of a

letter rogatory, Meta seeks testimony in response to the listed questions regarding how Viber

sees competition with Meta and the impact of Meta’s acquisition of WhatsApp.

       Meta has served document requests on Rakuten USA, Inc. for documents in the custody

and control of Rakuten’s United States subsidiary, but Meta is also seeking unique and vital

documents that it believes are only available in Japan, where Rakuten is headquartered. Meta

seeks documents only where they are not in the possession or custody of the United States

subsidiary.




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III.   Comity Considerations Favor Issuing These Discovery Orders and Letters
       Rogatory.

       When considering whether to authorize international discovery, the Court must also

consider international comity concerns. See Jaguar Land Rover Ltd. v. DR. ING. H.C. F.

Porsche AG, 2021 WL 3075698, at *1 (D.D.C. June 22, 2021) (considering comity issues raised

by motion for issuance of letters of request). Courts generally apply the following comity factors

to determine whether to grant a request for international discovery: (1) the importance to the

litigation of the documents requested; (2) the degree of specificity of the request; (3) whether the

information originated in the United States; (4) the availability of alternative means of securing

the information; and (5) the extent to which noncompliance with the request would undermine

important interests of the United States, or compliance with the request would undermine

important interests of the state where the information is located. Société Nationale Industrielle

Aérospatiale v. U.S. Dist. Ct. for the S. Dist. of Iowa, 482 U.S. 522, 544 n.28 (1987).

       Here, these factors support issuing the letters. First, as set out above, the documents and

deposition requests are vitally important to Meta’s defenses in this important litigation. Second,

the narrow requests for each entity are specific, seek only a limited set of evidence, and are

directly relevant to issues in this case. With respect to the letters rogatory, Meta has listed the

exact questions it requests that the Japanese tribunal ask verbatim. Third and fourth, even if the

documents may have originated overseas, Meta specifically seeks only those documents that are

unlikely to be found in the United States, which counterbalances the foreign origin of the

documents and favors disclosure. See Lantheus, 841 F. Supp. 2d at 793; Jaguar, 2021 WL

3075698, at *2 (holding that even if the third factor weighs against issuing the letters, “the fourth

[factor] . . . can ‘overcome’ the third” (quoting Arcelik A.S. v. E.I. Dupont de Nemours & Co.,

2021 WL 2010816, at *7 (3d Cir. 2021))). Finally, “[w]hen a court orders resort to the [Hague]


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Convention or to other means of international judicial assistance, it commits the issue whether

compliance with the request would undermine important interests of the state where the

information is located to the courts or other authorities of that state.” Restatement (Third) of

Foreign Relations Law § 473 reporters’ notes 5 (quoted in Jaguar, 2021 WL 3075698, at *2).

When that is true, “the Court will not assess the fifth factor.” Jaguar, 2021 WL 3075698, at *2.

Therefore, the comity considerations favor issuing the discovery orders and letters rogatory here.

                                         CONCLUSION

       For the reasons above, Meta respectfully requests that the Court grant this Motion and

execute the attached discovery orders and provide the attached letters rogatory to the U.S.

Department of State to be transmitted to the Japanese tribunal addressed therein.

 Dated: August 17, 2022                      Respectfully submitted,


                                             By: /s/ Mark C. Hansen
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